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ATTORNEY FOR PLAINTIFF




                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF IDAHO


INTERMOUNTAIN FAIR HOUSING          )
COUNCIL,                            )                CASE NO. CV 10-25-E-CWD
                                    )
      Plaintiff,                    )                STIPULATION TO DISMISS
                                    )
vs.                                 )
                                    )
PARKWOOD MEADOWS L.L.C.,            )
                                    )
      Defendant.                    )
____________________________________)

       COMES NOW the Plaintiff Intermountain Fair Housing Council, by and through its

attorney of record Ken Nagy, Attorney at Law, and the Defendant Parkwood Meadows L.L.C.,

by and through its attorney of record Paul George of Roberts Kaplan LLP, and hereby stipulate

and agree that the parties have reached a complete settlement of the claims at issue herein and

that the above-entitled proceeding shall be dismissed with prejudice in its entirety, with each

party bearing its own attorney’s fees and costs incurred herein.



STIPULATION TO DISMISS                       1
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                                October
                 20th day of _____________________________,
     DATED this _______                                     2010.




                                                       /s/
                                   __________________________________________
                                   KEN NAGY
                                   Attorney for Plaintiff


                                                     /s/
                                   __________________________________________
                                   PAUL GEORGE
                                   Attorney for Defendant




STIPULATION TO DISMISS             2
